Dear Secretary Carnahan:
This opinion letter responds to your request dated December 31, 2009, for our review under § 116.334, RSMo, of a proposed summary statement prepared for the petition submitted by Marc Ellinger (version 10a) regarding a proposed amendment to Chapter 92, Revised Statutes of Missouri. The proposed summary statement is as follows:
  Shall Missouri law be amended to eliminate the ability of cities to use earnings taxes to fund their budgets by requiring certain cities that have or may have in the future a population in excess of 700,000 to phase out any earnings tax over a ten year period and prohibiting any city except for certain cities that have or may have in the future a population of more than 450,000 but less than 700,000 from using earnings taxes as a potential source of revenue?
Pursuant to § 116.3 34, RSMo, we approve the legal content and form of the proposed statement. Because our review of the statement is mandated by statute, no action that we *Page 2 
take with respect to such review should be construed as an endorsement of the petition, nor as the expression of any view regarding the objectives of its proponents.
                                                Very truly yours,
                                             _________________________  CHRIS KOSTER
Attorney General